                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:04CV631-2-V)
                           (3:01CR152-2-V)


KEVIN EUGENE TEAGUE,          )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before the Court on petitioner’s Motion to

Vacate, Set Aside, or Correct under 28 U.S.C. §2255 (as amended),

filed   December   28,   2004   (documents     ##   1    and    4);    on     the

“Government’s Response To Petition’s Motion To Vacate . . . And

Motion For Summary Judgment,” filed May 19, 2005 (document # 10);

and on the “Petitioner’s Reply To The Government’s Response . . .

And Response To Government’s Motion For Summary Judgment,“ filed

July 25, 2005 (document # 14).

     Inasmuch as the government agrees that the petitioner is

entitled to have his conviction for the lesser offense of bank

robbery merged with his conviction for armed bank robbery (Counts

Two and Three, respectively), and to have his sentence on Count Two

vacated, the instant Motion to Vacate will be granted to that

extent. However, the government’s Motion for Summary Judgment will

be granted on the balance of the petitioner’s claims.




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                  I.     FACTUAL AND PROCEDURAL BACKGROUND

        The record reflects that on August 6, 2001, a multi-count Bill

of Indictment was filed, charging the petitioner (and 3 others)

with    several    violations     of    federal    law.       In    particular,       the

petitioner was charged with conspiracy to commit a federal offense,

in violation of 18 U.S.C. §371 (Count One), with                    bank robbery, in

violation of 18 U.S.C. §§2113(a) and 2 (Count Two), with armed bank

robbery, in violation of 18 U.S.C. §§2113(d) and 2 (Count Three),

with three separate acts of using, carrying, brandishing                              and

discharging a firearm during the commission of a crime of violence

and aiding and abetting that conduct, all in violation of 18 U.S.C.

§924(c)(1) and 2 (Counts Four through Six).

        After initially entering “not guilty” pleas to all of the

foregoing charges, on March 21, 2002, the petitioner appeared

before     the   Court   and    tendered       “straight    up”     guilty    pleas    to

conspiracy and robbery charges.                 On that occasion, this Court

conducted its standard Plea & Rule 11 Hearing in this matter.

During that proceeding, the Court engaged the petitioner in a

lengthy     colloquy     to    ensure   that     his   guilty      pleas    were   being

intelligently and voluntarily tendered.                    Based upon the peti-

tioner’s responses to its numerous questions, the Court condi-

tionally accepted the subject guilty pleas.

        However, on May 23, 2002, the petitioner proceeded to trial on

the three firearms charges set forth in Counts Four through Six.



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During the course of that trial, the government presented testimony

from    several      witnesses,       including            the    victim    bank     teller,   a

motorist; the officer who apprehended the petitioner; the man who

unwittingly loaned the petitioner the get-away car; and the co-

defendant who drove that get-away car for the robbery.

        By   the     testimony        of    those          witnesses,       the    government

established that on August 1, 2001, the petitioner and his two male

co-conspirators armed themselves and made plans to rob a satellite

First     Commerce     Bank     facility         in        Cornelius,      and     the    fourth

conspirator        planned     to    drive       the       get-away       car.      After    the

petitioner         borrowed     the        car       of    one     of     the     petitioner’s

acquaintances,        the     four    rode       to       the    victim    Bank,     where   the

petitioner and the other two males entered the Bank wearing ski

masks.

        Once inside, the petitioner pointed his gun at a teller, and

then stationed himself as a look-out person while one of the other

men went behind the counter and retrieved money from that teller’s

drawer.      Next, the man behind the counter held his gun to the

teller’s head and threatened to shoot her if she failed to open her

safe.     After the teller got her safe open and gave its contents to

the robber, the third robber went behind the counter and made sure

that the second man had gotten all of the teller’s cash.                                 Finally,

all three men fled the Bank in the get-away car with more than

$7,500.00 in cash.

        By that point, however, a witness from a nearby building

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already had called the police. As a result, Officer Jamie Hamilton

of the Huntersville Police Department, responded to the call.

While sitting on a side street, the officer observed the get-away

car drive past, and proceeded to follow the robbers. Once other

police units had joined in the pursuit and the officer confirmed

the description of the get-away car, he activated his blue lights

and siren, and attempted to stop the robbers’ car.           However, as

soon as the police car’s lights and sirens were activated, a shot

was fired at the officer from the right side of the get-away car

which, by that point, was speeding toward Charlotte.

     Thereafter, shots were continuously fired from the get-away

car as the conspirators attempted to avoid capture.      At times, the

driver of the get-away car reached speeds of up to 100 miles per

hour until she entered into a heavily trafficked area in northern

Charlotte.   Once in traffic, the get-away car driver began running

other vehicles off of the road.       At some point, one of the co-

conspirators fired a shot which passed through the vehicle of an

innocent motorist, sending glass shattering through her car, and

injuring her face and upper body.

     Finally, after crossing a median and making other erratic

movements, the driver of the get-away car pulled off of the road

and stopped.   At that point, the petitioner ran from the car.       Two

additional gun shots were heard coming from the area where the

petitioner was running.      An officer pursued the petitioner, at

which time he found the petitioner’s gun on the path which the

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petitioner was following. Moments later, the petitioner was found.

After a brief struggle with the officer, the petitioner was taken

into custody.

     The   government   also    showed    the   jury    a   video   tape   and

surveillance photographs which had recorded the conspirators during

the robbery.    At the conclusion of the government’s case in chief,

defense counsel sought a summary dismissal of the charges under

Federal Rule of Criminal Procedure 29.           However, that Motion was

denied.

     Next, the petitioner testified in his own behalf.                By that

testimony, the petitioner maintained that he had not planned or

sought to commit the subject robbery, but had merely acquiesced to

his co-conspirators’ requests that he serve as a look-out man for

them.   The petitioner stated that he “did not recall” pointing his

weapon at the teller; that he had asked his co-conspirators not to

shoot at the police; and that he was not attempting to flee when he

ran from the car, but simply was searching for a safe place from

which to surrender.

     On cross-examination, however, the petitioner admitted that he

actually had been the driver when he and his co-conspirators

selected the Bank which they intended to rob; and he conceded that

the government’s pictures showed him pointing a gun at the teller.

Notwithstanding such evidence, defense counsel renewed his Rule 29

motion at the conclusion of all of the evidence.             Again, however,

the defense’s motion was denied.         In particular, the Court found

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that the evidence raised a credibility issue which had to be

resolved by the jury.

     Ultimately,     the   jury     was       persuaded         by   the    government’s

evidence, as it found the petitioner guilty of having brandished

his firearm; and it found him guilty of having aided and abetted

his co-conspirators in brandishing and discharging their firearms.

     Consequently, the Court held a Sentencing Hearing on October

25, 2002.     At the outset of that Hearing, the Court considered and

rejected defense counsel’s “Motion to Set Aside Special Verdict.”

Thereafter,    the   Court   found        that    as       to   the    robbery-related

convictions--due     to    the    absence        of    a    criminal        history--the

petitioner’s Criminal History Category was I and his total Offense

Level was 26, thereby exposing him to a range of 63 to 78 months

imprisonment. As to the firearms convictions, the Court found that

the petitioner was facing a consecutive statutory minimum mandatory

term of 10 years imprisonment pursuant to 18 U.S.C. §924(c)(1)-

(A)(iii).

     The Court next heard from the petitioner and his family, all

of whom asked the Court to be merciful to the petitioner.                           At the

conclusion of the Hearing, the Court sentenced the petitioner to

183 months imprisonment, that is, to the lowest possible term.

The petitioner timely gave his Notice of Appeal to the Fourth

Circuit Court of Appeals.

     On appeal, the petitioner argued that this Court had erred in

relying on the jury’s special findings to calculate his sentences

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for the firearms convictions.             More precisely, the petitioner

claimed that this Court had violated his rights by submitting to

the jury the factual predicate questions underlying his firearms

convictions. See United States v. Teague, No. 02-4983, slip op. at

2 (4th Cir. July 18, 2003)         However, the appellate Court flatly

rejected that contention, finding instead that the petitioner’s

rights simply were not violated by the Court’s submission of the

subject questions to the jury.       Id.     Therefore, the Court affirmed

the petitioner’s convictions and sentences.            Id.

     Eventually on December 28, 2004, the petitioner returned to

this Court with the instant Motion to Vacate.            By this Motion, the

petitioner alleges that he was subjected to ineffective assistance

of trial counsel in that counsel failed to object to “multiplica-

tus” convictions and sentences on Counts Two through Six; counsel

failed   to   object   to   the   “double-counting”      which    occurred    in

connection with Counts One through Three; counsel failed to raise

an Apprendi-based objection to the specific offense characteristics

which were applied on Counts One through Three; and he failed to

seek a judgment of acquittal notwithstanding the verdict on Counts

Four and Six.     In addition, on January 31, 2005, the petitioner

amended his Motion to Vacate by adding a claim that counsel was

ineffective for having failed either to seek a plea agreement

and/or to communicate such an offer to him.

     On May 19, 2005, the “Government’s Response To Petitioner’s

Motion To Vacate . . . And Motion For Summary Judgment” was filed.

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Notably, by that combined document the government first concedes

that the petitioner is correct in his argument that he erroneously

received       multiple   sentences     for     both    of    his   bank    robbery

convictions.      Consequently, the government asks the Court to merge

the petitioner’s bank robbery conviction under §2113(a) (Count Two)

with his armed bank robbery conviction under §2113(d) (Count

Three), and to vacate the petitioner’s concurrent 63-month sentence

for the lesser, included offense under Count Two.

        However, the government denies that the petitioner is entitled

to any relief on his other claims.             In particular, the government

argues that the petitioner’s convictions for armed bank robbery and

the 924(c) violations do not violate the Double Jeopardy Clause;

that his conviction for having brandished a firearm is distinct

from     his   convictions      for   having    aided   and    abetted     his      co-

conspirators in brandishing and discharging their guns; that his

claim     that    certain    characteristics        were      double-counted         is

foreclosed by precedent; that the alleged Apprendi errors cannot be

raised in this proceeding; that his claim that counsel failed to

seek an acquittal is baseless; and that the petitioner cannot

demonstrate either deficient performance or prejudice in connection

with his claim concerning the absence of a plea offer.

        In support of its Motion for Summary Judgment, the government

filed an affidavit from the petitioner’s former attorney.                          Such

affidavit takes issue with the petitioner’s claim concerning the

absence of a plea offer, noting that he had expressly advised the

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petitioner of the prosecutor’s statement that the government would

not be extending a plea offer to the petitioner because the

prosecutor did not “desire any cooperation from [him].“

        Accordingly, on July 25, 2005, the petitioner filed his own

affidavit,     essentially      reiterating    his   earlier     arguments.     The

petitioner also filed a Response which challenged the government’s

assertions that he is not entitled to relief on claims two through

five.

        Now, after having carefully considered the foregoing documents

along with the relevant legal precedent, the Court concludes that

the petitioner is entitled to have his bank robbery sentence (and

its corresponding requirements) for Count Two vacated, but he is

not entitled to any relief on his other claims.

                                 II.   ANALYSIS

        With respect to allegations of ineffective assistance of

counsel, a petitioner must show that counsel's performance was

constitutionally deficient to the extent it fell below an objec-

tive    standard    of   reasonableness,       and   that   he   was   prejudiced

thereby.      Strickland v. Washington, 466 U.S. 668, 687-91 (1984).

In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable pro-

fessional assistance. Id. at 689; see also Fields v. Attorney

Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474

U.S. 865 (1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th



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Cir. 1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S. 1011

(1978).

     Furthermore,   in   considering    the   prejudice     prong   of      the

analysis, the Court must not grant relief solely because the

petitioner can show that, but for          counsel’s performance, the

outcome of the proceeding would have been different.              Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).   Rather, the Court “can only grant relief under . . .

Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S.

364, 369 (1993).

     To put it another way, in order to demonstrate prejudice, the

petitioner must show a probability that the alleged errors worked

to his "actual and substantial disadvantage, infecting his trial

with error of constitutional dimensions."        Murray v. Carrier, 477

U.S. 478, 494 (1986), citing United States v. Frady, 456 U.S. 152,

170 (1982). Under these circumstances, then, the petitioner “bears

the burden of proving Strickland prejudice.”         Fields, 956 F.2d at

1297, citing Hutchins, 724 F.2d at 1430-31.            Therefore, if the

petitioner fails to meet this burden, a “reviewing court need not

consider the performance prong.”     Fields, 956 F.2d at 1290, citing

Strickland, 466 U.S. at 697.




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           A.     As the government concedes, the peti-
                  tioner is entitled to have his bank
                  robbery sentence vacated and to have
                  that conviction merged with his armed
                  bank robbery conviction.

     Turning to his first claim, the record establishes that the

petitioner entered a “straight-up” guilty plea to a charge of

conspiracy   to    commit   an    offense      against    the    government,    in

violation of 18 U.S.C. §371 (Count One).                  The petitioner also

entered “straight-up” guilty pleas to both bank robbery and armed

bank robbery, all in violation of 18 U.S.C. §§2113(a) and (d)

(Counts Two and Three, respectively).              At sentencing, the Court

calculated the petitioner’s term based upon the armed robbery

conviction, as that is the most serious of the three offenses, and

then it imposed concurrent terms of 63 months imprisonment on each

of the three convictions.

     However, as the government concedes, the petitioner should not

have received even a concurrent term of imprisonment on the bank

robbery conviction, as that is a lesser, included offense of the

armed bank robbery offense which he committed.             To be sure, the two

robbery convictions should have been merged together, and the

petitioner should have been sentenced only on the conspiracy and

armed bank robbery convictions.              Thus, the petitioner is correct

that counsel was deficient for having failed to challenge his

sentence on Count Two for such lesser, included offense.                       See

United   States    v.   Gaddis,   424   U.S.     544,    547    (indicating   that


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convictions under both §§2113(a) and (d) for a single robbery must

be merged).

       Furthermore, the petitioner was prejudiced by that deficiency

to the extent that he received a separate three-year term of

supervised release on Count Two.            Consequently, the Court will

enter an amended Judgment, noting that the subject convictions are

merged and that the petitioner’s sentence and his three-year term

of supervised release on the bank robbery conviction (Count Two)

both are vacated.    See United States v. Jones, 204 F.3d 541, 544

(4th Cir. 2000) (holding that convictions for cocaine possession and

possession with intent to distribute cocaine must be merged and

separate sentence for cocaine possession, the lesser included

offense, must be vacated).       However, because the conviction on the

bank   robbery   offense    is   being    merged   and    not   vacated,      the

petitioner still is required to pay the $100.00 special assessment

for that conviction.

       On the other hand, however, the petitioner is mistaken as to

his contention that his convictions and sentences on Counts Four

through Six also are “multiplicatus” and in violation of the Double

Jeopardy Clause.    To be sure, unlike the two robbery offenses, the

firearms offenses all were separate, distinct violations of federal

law.   That is, by his conviction on Count Five, the petitioner was

found to have carried and brandished his own firearm; and by his

convictions on Counts Four and Six, he was found to have aided and


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abetted his co-conspirators in the brandishing and discharging of

their firearms.

     In short, because the petitioner was guilty of multiple

firearms offenses--none of which were lesser, included offenses of

the other--he properly was subjected to conviction and sentencing

for all such offenses. Therefore, this portion of the petitioner’s

first claim must be rejected.

           B. Counsel was not ineffective for having cho-
              sen not to argue that the enhancements which
              the Court imposed on Counts One through Three
              constituted double counting.

     By his second claim, the petitioner alleges that counsel

should have argued that the two-level increase which was imposed

due to the injury to the innocent motorist and the three-level

increase   which   he    received    for   the   assault    of     the    officer

constituted double-counting, because the conduct underlying those

increases was the same as the conduct which was punished by his

§924(c) convictions.      To support this claim, the petitioner relies

on Application Note 2 for U.S.S.G. §2K2.4, which forbids the

application   of   any    specific   offense     characteristics         for   non-

firearms offenses when defendants also are being sentenced for

firearms offenses.       However, a careful review of the provisions to

which the petitioner is pointing clearly reveals that he has

misapprehended both the controlling facts and the law.

     Indeed, this Court is aware that the Fourth Circuit repeatedly

has rejected arguments that enhancements based upon the same or

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closely related facts constitute impermissible double-counting as

the petitioner contends. For instance, in United States v. Sloley,

19 F.3d 149, 154 (4th Cir. 1994), the appellate Court expressly held

that an enhancement for assaulting an official victim and a §924(c)

conviction      based    on   the    same     conduct    did   not     constitute

impermissible double-counting.           See also United States v. Hughes,

396 F.3d 374, 383-84 (4th Cir. 2005) (enhancement for obstruction

of justice in bankruptcy fraud case based on perjury committed in

bankruptcy court not impermissible double-counting); United States

v. Wilson, 198 F.3d 467, 472 n. (4th Cir. 1999) (sentence for use

of firearm in violation §924(c) and enhancement for “physical

restraint” with same gun not impermissible double-counting), cert.

denied, 529 U.S. 1076 (2000); and United States v. Turner, 198 F.3d

425, 431-32 (4th Cir. 1999) (conviction for killing an individual

while engaged in continuing criminal enterprise and enhancement for

“supervisory     role”    not   impermissible       double-counting),        cert.

denied, 529 U.S. 1061 (2000).

      Moreover, the language from Part K of the Guidelines (relating

to   firearms    convictions)       is   irrelevant     because    none    of   the

petitioner’s sentences were calculated under those provisions.

Rather, the petitioner’s sentences for the conspiracy and bank

robbery convictions were calculated pursuant to Part B of the

Guidelines, which pertains to financial crimes; and the Court

expressly declined to impose any firearms-related enhancements from

§2K to those calculations due to the petitioner’s convictions on

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the firearms offenses.

     However, the petitioner’s firearms sentences did not include

any Guidelines enhancements, and were calculated pursuant to the

mandatory terms imposed under the relevant statute–-that is, 18

U.S.C. §924(c)(1)(A)(iii), not under the Guidelines.             To put it

simply, then, the petitioner was not sentenced in violation of the

prohibition set forth in §2K of the Guidelines. Therefore, counsel

had no reason or basis upon which to object to the subject

calculations.

          C.    The petitioner’s claim that counsel was
                ineffective for having failed to raise
                an Apprendi-based objection is baseless.

     Here, the petitioner alleges that counsel should have argued

that the Court’s application of certain offense-related increases

to his robbery sentences violated the rule announced in Apprendi v.

New Jersey, 530 U.S. 466 (2000) and its progeny, because the facts

underlying the increases were not alleged in the Indictment.

Although the government is correct in its response that neither

Apprendi nor the cases in its line of reasoning are retroactively

applicable in collateral proceedings such as this, that fact is not

dispositive of this claim.    Indeed, the petitioner actually is not

asking this Court now to apply Apprendi in order to grant him

relief, but rather he is asking the Court to conclude that his

attorney was ineffective for not having raised an Apprendi argument

at sentencing.



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     The obvious problem with this position, however, is that at

the time that the petitioner was sentenced in October 2002, the

U.S. Supreme Court had not ruled that Apprendi even was applicable

in federal sentencing proceedings.         See United States v. Hammoud,

381 F.3d 316 (4th Cir. 2004) (holding that Apprendi and its progeny

did not apply to the U.S. Sentencing Guidelines).                 To be sure, it

was not until after the petitioner was sentenced when the Supreme

Court decided United States v.       Booker/Fanfan, 543 U.S. 22 (2005)

holding, in part, that the rule from Apprendi is applicable to

federal sentencing proceedings.

     Thus, in October 2002 the petitioner’s attorney had no basis

upon which to object to the subject increases since the law in this

Circuit then dictated that a sentence which included sentencing

enhancements, but did not exceed the statutory maximum term, simply

did not violate Apprendi.     See United States v. Roberts, 262 F.3d

286, 291 (4th Cir. 2001) (concurrent 30-year sentences based upon

uncharged   enhancements    not    in     violation      of      Apprendi,    where

defendant   faced    a   30-year   statutory        maximum       due    to   prior

conviction);   United States v. Angle, 254 F.3d 514, 518 (4th Cir.)

(en banc) (sentence up to 20-year statutory maximum based upon

sentencing factors not implicated by Apprendi), cert. denied, 534

U.S. 937; and United States v. Kinter, 235 F.192, 201 (4th Cir.

2000)   (factual    determinations      which     increase       sentence     under

Guidelines not affected by Apprendi, so long as sentence does not

exceed statutory maximum for offense of conviction).

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     Here,    the     statutory   maximum     for    the    armed     bank     robbery

conviction was 25 years.          See 18 U.S.C. §2113(d).             However, the

petitioner    actually      received   a    much    lower   term    of    63    months

imprisonment for that offense.          Suffice it to say, therefore, the

petitioner        cannot   establish   either       deficient   performance         or

prejudice in connection with this claim.

             D.    The petitioner’s de-facto challenge to the
                   sufficiency of the evidence also must fail.

     By his next claim, the petitioner argues that counsel was

ineffective for having failed to seek a judgment of acquittal

following the jury’s publication of its verdicts.                        This claim,

however, need not long detain the Court.

     First, as the government has correctly noted, defense counsel

did, in fact, challenge the jury’s verdicts by his post-verdict

Motion to Set Aside Special Verdict.            However, this Court properly

rejected that Motion as baseless. Therefore, the petitioner simply

is factually mistaken as to this matter.

     Second, and more importantly, the thrust of the petitioner’s

argument here is that the evidence was insufficient to support his

convictions on the firearms offenses because “the government failed

to prove beyond a reasonable doubt every element of the crime[s]

with which the petitioner was charged.”               However, as was earlier

recounted, the government produced evidence that the petitioner

violated §924(c), and aided and abetted his co-defendants in

violating that provision.          That is, the subject evidence showed

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that the petitioner entered the bank armed with a loaded gun; that

he initially pointed his gun at the teller, and then stood watch

with that gun during the robbery; that his co-defendants pointed

their weapons at the teller and threatened to shoot her if she did

not surrender all of her money; and that his co-conspirators fired

multiple shots at police as the group attempted to avoid capture.

     On this record, then, any additional attempts by counsel to

set aside the jury’s verdict would have been ill-fated inasmuch as

the evidence more than adequately supported the jury’s decisions.

See generally United States v. Tresvant, 677 F.2d 1018, 1021 (4th

Cir. 1982) (noting that a Rule 29 motion should be denied if

“viewing   the    evidence   in   the    light     most    favorable    to   the

government, any rational trier of facts could have found the

defendant guilty beyond a reasonable doubt.”). Therefore, this

belated challenge to the sufficiency of the evidence must fail.

           E.    The petitioner’s claim regarding the ab-
                 sence of a Plea offer also is feckless.

     By his final claim, the petitioner alleges that counsel was

ineffective for having failed either to secure or to convey a plea

offer.   However, as the government pointed out, there simply is no

constitutional right to a plea offer. Therefore, counsel could not

have been deficient for not having secured such an offer.

     Moreover, the attachments to the government’s Response to the

petitioner’s Motion to Vacate establish that the government was not

interested in entering into a plea agreement with the petitioner


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and, in fact, the government communicated that disinterest by

letter to the defense counsel on at least two occasions.            On this

record, then, it is clear that there was no plea offer for counsel

to have communicated to the petitioner. Ultimately, therefore, the

petitioner cannot establish deficient performance or prejudice in

connection with this claim.

                            III.   CONCLUSION

       Other than establishing that his concurrent 63-month sentence

and the three-year term of supervised release must be vacated for

Count Two, the petitioner has failed to show that he is entitled to

any relief. Accordingly, the Court will enter an amended Judgment,

reflecting such modifications, but will leave the rest of the

petitioner’s Judgment undisturbed.

                               IV. ORDER

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.   The petitioner’s Motion to Vacate is GRANTED as to claim

One in that the Clerk shall prepare an Amended Judgment, reflecting

that the petitioner’s convictions on Counts Two and Three are

merged, and that his concurrent 63-month sentence and his three-

year term of supervised release are vacated, but only as to Count

Two.

       2. The government’s Motion for Summary Judgment is GRANTED as

to the petitioner’s remaining allegations as set forth in Claims

Two through Five.


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     3.   The petitioner’s Motion to Vacate is DENIED and DISMISSED

as to claims Two through Five.

     4.    The   Clerk   shall   send    copies   of   this   Order    to     the

petitioner, to former defense Counsel (Mr. Randolph M. Lee), and to

counsel for the government.

     SO ORDERED.



                                         Signed: July 31, 2006




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